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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MONTANA,
                                   BILLINGS DIVISION

DENICE FABRIZIUS and             )    Cause No. 08-114-BLG-RFC
WILLIAM FABRIZIUS,               )
                                 )    Hon. Richard F. Cebull
                    Plaintiffs,  )
                                 )
           -vs-                  )
                                 )
DR. KEITH R. SHULTZ, M.D.,       ) YSC MOTION FOR
YELLOWSTONE SURGERY              ) SUMMARY JUDGMENT re
CENTER, DOES 1 through X, and    ) VICARIOUS LIABILITY
ROE CORPORATIONS I through X, ) WITH BRIEF IN SUPPORT
inclusive,                       )
                                 )
                    Defendants. )
                              *******
                         YSC MOTION re VICARIOUS LIABILITY
         COMES NOW the Yellowstone Surgery Center [YSC], pursuant to
F.R.Civ.P. 56, and moves for summary judgment holding that the YSC cannot be
held vicariously liable for any culpability the Plaintiffs attribute to Dr. Keith
Shultz.
         The Plaintiffs oppose this motion.
                                            BRIEF IN SUPPORT
         This argument also answers the Plaintiffs’ motion for judgment on the same
issue.
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                                                     Summary
         The Plaintiffs rely on their interpretation of the terms of the Anesthesia
Partners-YSC contract as their evidence for proving actual agency. The only
reasonable inferences and conclusions to be drawn from the evidence material to
the applicable law, including cases cited by the Plaintiffs, are that Dr. Shultz was
acting as an independent contractor. The theory of nondelegable duty does not
apply. Denise Fabrizius eliminated the possibility of an ostensible agency.
Summary judgment in favor of the YSC is appropriate.
                                                Applicable Law
         This being a 28 U.S.C. §1332(a)(1) diversity case, state substantive law and
federal procedural law apply. Erie R.R. v. Tompkins, 304 U.S. 64, 78, 58 S.Ct.
817, 822, 82 L.Ed. 1188 (1938); Feldman v. Allstate Insurance Company, 322
F.3d 660, 666 (9th Cir. 2003).
                                                  General Rule
         Generally, a Montana healthcare facility is not liable for the negligence of
physicians functioning as independent contractors. Butler v. Domin, et al., 2000
MT 312, ¶27, 302 Mont. 452, 459, 15 P.3d 1189, 1194, citing Estates of Milliron
v. Francke (1990), 243 Mont. 200, 204, 793 P.2d 824, 827.
                                                       Agency
         “The law itself makes no presumption of agency, and the burden of proving
agency, including not only the fact of its existence but also its nature and extent,
rests ordinarily upon the party who alleges it.” Elkins v. Husky Oil Company
(1969), 153 Mont. 159, 165, 455 P.2d 329, 332. In Montana, direct evidence of
the right or exercise of control, the method of payment, furnishing of equipment,
and the right to fire have been identified as the four factors used in determining
whether a sufficient right of control existed to demonstrate an employer-employee

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relationship, i.e., an actual agency. Butler, ¶29. “Where the undisputed evidence
concerning the status of the parties defendant to each other is reasonably
susceptible of but a single inference, the question of their legal relationship ... is
one purely of law.” Milliron, 243 Mont. at 204, 793 P.2d at 827, quoting Elkins,
153 Mont. at 166, 455 P.2d at 332.
                                        Facts Material to the Issue
         The statements in paragraphs 8 through 39 in Plaintiffs’ Statement of
Undisputed Facts [PSUF] are not material to the issue of whether the YSC can be
held vicariously liable for any culpability the Plaintiffs attribute to Dr. Shultz.
Though the Plaintiffs project Dr. Shultz’s negligence and his liability as foregone
conclusions, they have not moved for summary judgment on those yet to be
decided issues.
         Other statements are not material either. The Plaintiffs have omitted
material facts. Some of their statements are factitious suppositions.
Misperceptions or misstatements are extracted from relevant evidence. Other
statements rely on inadmissible evidence. These subjects are discussed in detail in
the YSC Statement of Genuine Issues with Plaintiffs’ Statement of Undisputed
Facts that has been incorporated by reference into the YSC Response Brief to
Plaintiffs’ Motion for Partial Summary Judgment re Vicarious Liability.
         Events Leading to the C6-7 Epidural Steroid Injection [ESI]. From what
Denise Fabrizius and her doctor have testified, she made an appointment to see Dr.
Michael Copeland, a Billings neurosurgeon, on November 10, 2004, for a second
opinion regarding her pain symptoms. D. Fabrizius, 88:19-89:12.1 When he
reviewed previous MRI studies Dr. Copeland saw spondylosis “Most prominently


         1
             Dkt. 30, Ex. 1.
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at C6-7 but also at C4-5 and C5-6.” Copeland, 17:14-18:9.2 However, he could
not find diagnostic answers for the cause(s) of all of her symptoms. Id., 17:14-
19:22, 20:22-21:5. The confusion between the symptoms she described and his
objective findings was why “... I sent her for an epidural to see if I could add some
clarity.” Id., 87:14-22. He wanted to see if there was a treatable problem he could
help, so a cervical ESI was the next test he wanted done. Id., 22:21-23:16.
         Dr. Copeland had experience referring patients to Dr. Shultz for cervical
ESIs. Id., 27:15-18. He considered Dr. Shultz competent to perform them, Id.,
27:19-25, based on the excellent outcomes when he referred patients to him. Id.,
73:7-74:3. He recommended Mrs. Fabrizius see Dr. Shultz for the ESI. D.
Fabrizius, 168:4-8. The way she remembers, “Dr. Copeland said something to the
effect that if he knew somebody that was really good at this or -- he made me feel
comfortable with the fact that Dr. Shultz would be a good doctor to go to to have
this done.” Id., 92:6-10. Dr. Copeland lead her “to believe that he [Dr. Shultz]
was a good doctor and was good at what he does;” and evidently, that he preferred
Dr. Shultz do the ESI. Id., 168:4-12, 169:3-8. During the consultation Dr.
Copeland arranged and scheduled a C6-7 ESI. Copeland, 26:13-27:14; D.
Fabrizius, 91:12-18. The purposes were to help him make a diagnosis, Copeland,
18:24-19:22, 20:19-21:5, 22:10-23, along with the hope of it being therapeutic for
her. Copeland, 22:24-23:13; D. Fabrizius, 91:6-9. Dr. Copeland did not refer her
to the YSC for the ESI as the Plaintiffs suggest. PSUF, ¶4.
         According to the evidence, he referred her to Dr. Shultz who happened to be
at the YSC that day instead of St. Vincent Healthcare or elsewhere. Mrs. Fabrizius
knew Dr. Shultz would be doing the ESI before she went to the YSC. D.


         2
             Dkt. 30, Ex. 2.
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Fabrizius, 91:12-92:10. When she left Dr. Copeland’s office she was going to see
Dr. Shultz. Id., 168:9-12. As recently as June 16, 2009, the Plaintiffs definitively
said, “The facts of Denice’s claim are: 1. Denise sought the care of Dr. Shultz ....”
Dkt. 22, 6/16/2009 Plfs’ Reply Brief, p. 15. It didn’t make any difference to her
where he was; she was simply told he was at the YSC. D. Fabrizius, 168:13-21.
She would have gone wherever he may have been. Id., 169:9-11. She said, “I
don’t know the way that would have even crossed my mind” when asked if she
cared about Dr. Shultz’s relationship with the YSC when she went to see him. Id.,
168:22-169:1.
         Here, unlike in Butler, ¶30 and ¶31, the YSC informed Mrs. Fabrizius
before the ESI that Dr. Shultz was an independent contractor and not its agent,
servant or employee in paragraph 1 of the informed consent form3 she signed:
         The Yellowstone Surgery Center maintains facilities and personnel to
         assist physicians and surgeons as they perform various surgical
         operations and other diagnostic or therapeutic procedures. The
         physicians and surgeons as well as the person(s) in attendance for the
         performance of specialized medical services such as anesthesia,
         radiology, or pathology are not agents, servants or employees of the
         facility, but independent contractors and, therefore, are the patient’s
         agents or servants.
         Dr. Shultz, Anesthesia Partners of Montana [APM] and YSC. Dr. Shultz
joined APM in 1999. Shultz, 9:11-18.4 He works for APM. Id., 216:22-217:9.
Since joining APM he has practiced at St. Vincent Healthcare. Id., 10:5-8.
          The YSC is a “speciality hospital.” M.C.A. §50-5-101(55)(a)(iii). By
definition, it is an “outpatient center for surgical services” meaning it is a facility


       YSC Statement of Undisputed Facts [YSUF], Ex. 1, p. 1, ¶1,“Informed Consent
         3

to Operation and Other Medical Services and Consent to Anesthesia” form from
redacted Fabrizius medical records.
         4
             Dkt. 30, Ex. 4
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“... specifically designed and operated to provide surgical services to patients not
requiring hospitalization ....” M.C.A. §50-5-101(42). The YSC was organized in
October 2001 as an independent limited liability company.5 It has an affiliation
with St. Vincent Healthcare.6 It has been licensed by Montana as an outpatient
ambulatory surgical center since it opened in November 2002.7
         On October 1, 2002, the YSC entered into the Agreement for Anesthesia and
Medical Director Services [Agreement]8 with APM. Dr. Shultz was identified in
the Agreement at Exhibit B as one of the APM doctors who would be providing
anesthesia services for patients of surgeons and other doctors treating their
patients at the YSC after it opened. Thus, when the YSC opened in November
2002, he also began practicing there as an employee of APM. Agreement, Art.
2.1; Shultz, 9:24-11:3. APM bills separately for the services its employee doctors
provide and the YSC charges a distinct facility fee.9 There has never been an
employment agreement between Dr. Shultz and the YSC.10
         However, the Plaintiffs rely on their interpretation of the terms of the
YSC/APM Agreement as their evidence for proving he was an actual agent of the
YSC on November 10, 2004. Dkt. 29: 8/31/2009 Plfs’ Brief, p. 6.



         5
             YSUF, Ex. 3.
         6
             YSUF, Ex. 4.

      YSUF, Ex. 5, p. 6: Answer to Interrogatory No. 8 & Response to Request for
         7

Production No. 11; Ex. 6: YSC-230 to YSC-232.
         8
             YSUF, Ex. 7, YSC-138 to YSC-162.
         9
             YSUF, Ex. 2.
         10
              YSUF Ex. 5, p. 4: Response to Request for Production No. 5.
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                                          Contract Interpretation
         The construction and interpretation of a contract is a question of law for the
Court to decide. Taylor-Edwards Warehouse & Transfer Company of Spokane,
Inc. v. Burlington Northern, Inc., 715 F.2d 1330, 1333 (9th Cir. 1983); Wurl v.
Polson School District No. 23, 2006 MT 8, ¶16, 330 Mont. 282, 288, 127 P.3d
436, 441. In the Ninth Circuit there is no “rigid rule prohibiting reference to
extrinsic evidence in resolving a contractual ambiguity on a summary judgment
motion,” the existence of which is a question of law. Southern California, 336
F.3d at 889; Wurl, ¶17. “Even if the proper interpretation of the meaning of the
words of the contract depends upon the surrounding circumstances, the
interpretation of the words in light of those circumstances is a question of law.”
Taylor-Edwards, 715 F.2d at 1333.
         The mere fact that the parties disagree over the interpretation of a contract
does not automatically create an ambiguity. Wurl, ¶17. The YSC disagrees with
the Plaintiffs’ interpretation in so many ways. But no matter how vigorous the
debate, the agency-independent contractor issue is a question of law. Cilecek v.
Inova Health System Services, 115 F.3d 256, 261 (Cir. 4th 1997), a case relied
upon heavily by the Plaintiffs.
                                            YSC/APM Agreement
         Relationship Designation. “In the performance of professional services ...”
the Agreement specifically provides “... that Contractor [APM] and
Anesthesiologists are at all times acting and performing as independent
contractors practicing the profession of medicine.” Art. 3.4.
         Testimony that the anesthesiologists were independent contractors had an
impact on the relationship question in Butler at ¶31 and ¶32. The provision in the
YSC/APM Agreement is an important distinction from the contract examined in

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Kober and Kyriss v. Stewart and Billings Deaconess Hospital (1966), 148 Mont.
117, 123, 417 P.2d 476, 479, which was silent on whether the radiologist was an
independent contractor or an actual agent. Labeling the radiologist as an
independent contractor in the agreement in Milliron was a primary reason for not
following Kober. Milliron, 243 Mont. at 202, 793 P.2d at 826. This contractual
expression of the parties’ intention alone was so conclusive on the actual agency
issue in Milliron that the Plaintiffs were reduced to “... arguing the existence of an
‘apparent’ or ‘ostensible’ agency rather than an actual agency relationship.” Id.
The Fourth Circuit found that contractual expression very significant in affirming
the lower court’s decision that Dr. Cilecek was an independent contractor.
Cilecek, 115 F.3d at 261.
         Here, mutually with the YSC, APM expressed its intention that its
anesthesiologist employees would act as independent contractors when providing
professional services for patients at the YSC. Art. 3.4. The Plaintiffs seem
offended that entities limit their liability exposure, and proclaim doing so violates
their notion of public policy. Yet, nothing in law prohibited the YSC or APM
from agreeing on the nature of the relationship the YSC would have with the APM
employees.
         Direct Evidence of the Right or Exercise of Control. The right of control is
the most crucial factor in distinguishing between employees and independent
contractors. The “right of control” means the right to control the details, methods,
or means of accomplishing the individual's work. Butler, ¶29.
         The YSC has never had the authority to exercise any control or direction
over the methods used by the APM anesthesiologists. Article 3.4 of the
Agreement expressly says:


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         Surgery Center shall neither have nor exercise any control or
         direction over the methods by which Contractor [APM] or
         Anesthesiologists shall perform Anesthesia Services. The sole
         interest and responsibility of Surgery Center is to assure that such
         services are performed in a competent, efficient and satisfactory
         manner.
         Competence. APM has always been responsible for ensuring the
qualifications of the anesthesiologists it sends to the YSC. Art. 2.2. Medicare and
Medicaid patients have come to the YSC for care from their doctors from the
outset and APM intended its anesthesiologists would provide care for those
patients. Art. 7.1. Thus, the YSC has been obligated to comply with the
requirements of 42 C.F.R. §416.45 concerning the accountability of the medical
staff to it. In fulfilling its obligation, the YSC has a duty through its governing
body to limit the medical staff appointments to those physicians who are legally
and professionally qualified for the positions to which they are appointed. 42
C.F.R. §416.45(a) and the interpretive guidelines11 for 42 C.F.R. §416.45(a), page
84.
         However, 42 C.F.R. §416.45 does not address the independent contractor-
actual agent question. The rule that a Montana healthcare facility is not liable for
doctors functioning as independent contractors would be meaningless if, as the
Plaintiffs propose, certification of physicians providing care at the facility
established a right of control. To whatever degree facilities have a duty to monitor
physicians, 42 C.F.R. §416.45 does not turn independent contractors into actual
agents; nor does it change the criteria courts use for determining which the doctor
is. Bender v. Suburban Hospital, 998 F.Supp. 631, 633 (D. Md. 1998) (Plaintiffs’

       YSUF, Ex. 12: Appendix L: “Interpretive Guidelines for Ambulatory Surgical
         11

Centers” to the Department of Health and Human Services (DHHS) Centers for
Medicare and Medicaid Services (CMS) Publication 100-07 entitled “State
Operations Provider Certification.”
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case); Butler, ¶27; Milliron, 243 Mont. at 204, 793 P.2d at 827. Regulatory
compliance is not a right of control.
         Administrative Obligations and YSC Rules and Regulations. The Plaintiffs
contend the administrative obligations imposed on the anesthesiologists and the
requirements that they comply with rules and standards set by the YSC clearly
established a right of control. Not according to the cases they cite.
         The jurists found that the rules and regulations Dr. Cilecek had to abide by
governed every aspect of patient care but explained:
                 All of these regulations, however, relate to the professional
         standard for providing health care to patients for which both
         Emergency Physicians and the Inova hospitals had professional
         responsibility to their patients. While Cilecek certainly retained a
         professional independence in performing professional services, he
         also shared a professional responsibility to cooperate with the
         hospitals to maintain standards of patient care, to keep appropriate
         records, and to follow established procedures. This shared control
         exists both for employee doctors and for doctors merely enjoying
         practice privileges at a facility. If the hospitals did not insist on such
         details in the performance of professional services by doctors at their
         facilities, they would be exposing themselves to recognized
         professional liability. Because of the overarching demands of the
         medical profession, the tension in professional control between
         doctors and hospitals for medical services rendered at hospitals is not,
         we believe, a reliable indicator of whether the doctor is an employee
         or an independent contractor at the hospital.
Cilecek, 115 F.3d at 261-62. Requiring care for patients without adequate
financial resources comes among those YSC regulatory requirements.
         Staff privileges obligated Dr. Bender to regulations and activities similar to
those in the YSC/APM Agreement. The Court cited Cilecek for the proposition
that hospitals can place administrative obligations on physicians with privileges in
fulfilling the hospital’s professional responsibility and observed, “In brief,
obligations to participate in non-treatment related administrative activities do not
transform doctors merely with privileges into independent contractors or
employees.” Bender, 998 F.Supp. at 636. Retention of records at the YSC, in the

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context of the foregoing and 42 C.F.R. §416.47, does not help resolve the issue
presented.
         Places of Practice and Timing of Providing Services at the YSC. The
Plaintiffs contend the YSC controlled the places where Dr. Shultz could practice
by requiring the APM anesthesiologists to maintain medical staff and admitting
privileges at St. Vincent Healthcare. Art. 4.1. Misconstruing terms of the
Agreement, they speculate that the YSC has scheduled the anesthesiologists for
procedures at the facility and discarded them to their own devises when not
needed. Not true on either supposition.
         As far as the YSC has been concerned, Dr. Shultz could practice wherever
and whenever he wanted if APM let him. While it is undisputedly true he has
been obligated to maintain staff and admitting privileges at St. Vincent, and APM
has been required to have anesthesiologists available during the YSC hours of
operation for scheduled procedures with at least one remaining until the last
patient is discharged [Art. 3.7], where and when Dr. Shultz performed his services
has always been left to the internal operations of APM by the YSC.
         “Normal operating hours,” which the YSC can adjust, means “the time
necessary to prepare for and complete cases scheduled from 7:30 a.m. to 4:30
p.m., Monday through Friday, excluding holidays.” Art. 3.7a. At least one
anesthesiologist had to be on premises “until the last patient is medically stable,
and shall remain available until the last patient is discharged.” Art. 3.7d. Among
themselves, the anesthesiologists have had the flexibility of assigning the duty for
staying on premises. Id. Initially, there were four operating room which the YSC
could increase, Id., thus, placing more demand on APM. APM knew and
acknowledged “there may be wide fluctuations in the volume of cases scheduled
on any given day and on certain days the schedule will not be full.” Art. 3.7e.

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         But, nowhere does the Agreement say the YSC will schedule the
anesthesiologists. That duty fell on and was undertaken by APM: “Contractor
shall provide and arrange for the provision of all Anesthesia Services ....” Art.
3.1 (Emphasis supplied). It has been up to APM to learn how many procedures
were scheduled at the YSC so it could schedule its anesthesiologists for work
whenever and wherever it decided. APM and Dr. Shultz have always had the
freedom to come to an agreement about the number of hours he has been willing to
work, or about the kind of work he has wanted to do, or where he wants to work,
without any say from the YSC.
         Article 3.5 grants APM the exclusive right to provide anesthesia services at
the YSC. The Agreement does not reciprocally require APM to limit the practice
of its doctors to the YSC, however. The YSC has never required Dr. Shultz to
work at St. Vincent. It only required him to have staff and admitting privileges if
the need for emergency care arose for a patient he was treating at the YSC.
         Those privileges gave APM latitude for scheduling him there, where he had
been practicing before the YSC opened, if it didn’t assign him for a procedure at
the YSC or elsewhere. The Agreement does not prohibit APM anesthesiologists
from working wherever they can and want. It was left to the ingenuity of APM to
figure out how that could be accomplished while keeping its promise to the YSC.
For example, Dr. Shultz and some other APM anesthesiologists have had pain
management privileges. The Agreement has not prohibited APM from scheduling
their “private” patients, as the Plaintiffs refer to them, for pain therapy while
scheduling other employees to cover its obligation under Article 3.1.
         Method of Payment. APM has been solely responsible for separately billing
and collecting “all professional fees and charges that result from professional


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services provided in accordance with this Agreement.”12 Art. 6.1a. Nothing in the
Agreement gave the YSC authority to determine the charges the APM
anesthesiologists can charge for their services. Butler, ¶31.
         The YSC has never paid Dr. Shultz.13 Just as Emergency Services did in
Cilecek, 115 F.3d at 261, APM has compensated him. Shultz, 53:10-54:22;
197:10-199:8. As in Butler, ¶31, APM does not share its income with the YSC.
The converse is true. To APM, LLC, and other shareholders the YSC has
distributed net earnings received from payments made by patients for facility
fees.14 There is no evidence of the YSC having anything to do with deciding how
much Dr. Shultz has ever received from the distribution to APM, LLC. The
evidence that he has never been a shareholder of the YSC tends to make the
existence of his servitude less probable.
         Right to Fire. Referring to Articles 8.2 and 8.3, the Plaintiffs translate the
ability of the YSC or APM to terminate the Agreement with or without cause into
the right of the YSC to fire Dr. Shultz. Stretching such a general ability for ending
their obligations into a right to fire is nonsensical. There would rarely if ever be
independent contractors if such general contractual provisions for terminating an


         The YSC agreed to cooperate with APM’s billing and collection process. Art.
         12

6.1a. It also agreed it would “endeavor to distribute to Anesthesia Services patients
materials provided by Contractor [APM] which describe the separate billing
relationship between the patients and the Anesthesiologists.” Art. 6.1b.

        The YSC has never withheld for taxes, Social Security or any other
         13

withholdings for APM anesthesiologists. Art. 3.4. The YSC has never made
workers’ compensation, disability insurance benefits, unemployment compensation
or unemployment insurance benefits, vacation pay, sick leave, Social Security,
retirement benefits, or any other benefits available to the APM anesthesiologists. Id.
         14
              YSUF, Ex. 10, p. 3: Response Request for Production No. 14.
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agreement meant a right to fire. That either party had a right to terminate the
relationship was not indicative of an employee relationship in Cilecek, 115 F.3d at
262.
         Specifically though, the Plaintiffs’ interpretation is without merit. The YSC
medical director from APM is expressly prohibited from terminating the services
of an independent contractor healthcare professional in the name of the YSC.
Agreement, Ex. A, ¶2.7. Nothing anywhere else in the Agreement suggests the
YSC has had any right to fire an anesthesiologist employed by APM.
         Equipment Factor. “Providing adequate space, equipment and personnel is
nothing more than what a hospital provides other doctors for the treatment of their
patients.” Milliron, 243 Mont. at 204, 793 P.2d at 827. These were not
dispositive facts favoring the Plaintiffs in Butler, Kober, Cilecek, or Bender. They
are not here either.
         Space. The YSC has provided the space where Dr. Shultz and other
employees of APM have practiced when there. Art. 5.1. So did the facilities in
Kober, Milliron, Butler, Cilecek and probably Bender.
         It was agreed the APM anesthesiologists would not have an office at the
YSC. Art. 5.1. In concluding Butler did not raise a genuine issue of material fact
on the actual agency issue, ¶32, the Court noted that the anesthesiologists did not
have individual offices at St. Patrick. Butler, ¶31. Providing an office for the
physician was not a sufficient factual basis for establishing an agency relationship
in Milliron, 243 Mont. at 204, 793 P.2d at 827. In Bender, 998 F.Supp. at 633, the
decision that Dr. Bender was an independent contractor was not derailed by the
fact that the hospital provided her with office space.
         The terms of the Agreement regarding space are not an indica of control as
suggested by the Plaintiffs. The fact that the YSC has not provided office space is

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actually more of an indication that Dr. Shultz was not an employee of the YSC.
Butler, ¶31 and ¶32.
         Equipment. According to Articles 5.2, 5.3, and 5.6, the YSC took
responsibility for purchasing and furnishing the equipment and supplies.15
Apparently, the only equipment the anesthesiologists provided in Butler, ¶31, was
their anesthesia machines. The hospital provided the equipment for the radiology
department in Milliron, 243 Mont. at 203, 793 P.2d at 826. The facilities
furnished the equipment in Cilecek, 115 F.3d at 261; and also in Bender, 998
F.Supp. at 633.
         Personnel. APM and the YSC agreed the latter would employ all of the
non-physician personnel needed for the delivery of anesthesia services. Art. 5.7.
The facilities provided staff to assist in Bender, 998 F.Supp. at 633. The hospital
provided the personnel for the radiology in Milliron, 243 Mont. at 203, 793 P.2d at
826. Paragraphs 30 and 31 in Butler indicates St. Patrick’s probably employed the
non-physician personnel working with the anesthesiologists who performed the
lumbar epidurals.
         Providing adequate space, equipment and personnel is not enough to create
an employment relationship even if there was also evidence that the YSC sent and
collected bills for the care Dr. Shultz provided at the facility, which there is not.
Milliron, 243 Mont. at 203, 793 P.2d at 826-27.




        APM agreed for itself and its anesthesiologists that none of them would
         15

obligate or commit the assets of the YSC for purchasing or acquiring equipment,
supplies or personnel without written authorization. Art. 5.4. Likewise, they agreed
they would not make or allow improvements or repairs to any space, facilities or
equipment. Art. 5.5.
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                     Pain Management and Nondelegable Duty Theory
         The YSC/APM Agreement is a contract for the provision of anesthesia
services at the YSC. It says “anesthesia services” will be broadly construed, “but
shall not include treatment or management of chronic pain and painful disorders
not done in conjunction with surgery or obstetrics.” Art. 2.5 and 3.5. From this
contractual constriction on the definition of “anesthesia services,” the Plaintiffs go
straight to the idea that Dr. Shultz was an agent of the YSC, not APM, when he
did the Fabrizius ESI. Their reasoning seems to be that APM did not contract with
the YSC to do pain procedures so APM anesthesiologists must have been acting
outside the scope of their APM employment when they did those procedures at the
YSC. Therefore, the Plaintiffs infer, the anesthesiologists must have been actual
agent employees of the YSC rather than independent contractors when they
provided treatment for pain. From there they trumpet the notion that pain therapy
delivered at the facility is a business interest pursuit of the YSC and not of APM
and its anesthesiologist employees. For conformation, they cite M.C.A. §28-10-
201 and §28-10-211 and pronounce an actual agency existed for pain procedures
by ratification from knowingly accepting and retaining the benefits of those
procedures.
         The problems with the Plaintiffs’ hypothesis and conclusion begin with the
facts. Foremost, are the billing facts. The Fabrizius ESI was billed and paid the
same way the Agreement says anesthesia services would be treated, i.e., APM
billed separately for services its doctor employees provided. Art. 6.1a. APM was
paid separately for Dr. Shultz. The YSC billed and was paid for a distinct facility
fee.16


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              YSUF, Ex. 2.
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         Their misunderstanding of the terms of the Agreement complicates the
problem the facts cause them. Articles 2.5 and 3.5 simply exclude most pain
management procedures from the scope of the contract. It does not prohibit APM
from having its employee anesthesiologists perform those procedures at the
facility. The Plaintiffs forget that four of the nine doctors who had pain
management privileges at the YSC on November 10, 2004, were not members of
the APM group.17 APM and its anesthesiologists would not have had the
exclusivity promised at Article 3.5 with physicians outside their group having pain
privileges at the YSC. Contract exclusivity was assured by constricting the
definition of “anesthesia services” in the Agreement.
         Another problem for the Plaintiffs’ argument arises with the realization that
“ratification” can be said of all of the procedures done at the facility. The YSC
has knowingly accepted facility fee benefits from the procedures done there.
Doing so has not transformed the independent contractor physicians treating their
patients there into agent employees of the YSC for all of the reasons already given.
         “Ratification” is their proclamation of a res ipsa concept that a facility
owner has a nondelegable duty for the well being of a business invitee, and is
strictly liable to one who has an unsatisfactory result while there. Their argument
is really a novel expression of a “nondelegable duty” theory for avoiding the
general rule on vicarious liability. It does not gain traction by being disguised as
something else.
         The well developed law of Montana provides that the mere fact of injury or
the occurrence of an undesired result, standing alone, does not constitute evidence
or raise a presumption or inference of negligence. Montana Deaconess Hospital,


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              YSUF, Ex. 10, p. 2: Answer to Interrogatory No. 9.
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169 Mont. at 191, 545 P.2d at 673; Loudon v. Scott (1920), 58 Mont. 645, 194
Pac. 488, 491. The law does not require that for every injury there must be a
recovery of damages. Negaard v. Estate of Feda (1968), 152 Mont. 47, 52, 446
P.2d 436, 439-40. Consistent with Doerr v. Movius (1970), 154 Mont. 346, 350,
463 P.2d 477, 479, Milliron confirms the YSC did not promise or guarantee her a
successful, satisfactory result merely because it let Dr. Shultz use the facility.
         Mrs. Fabrizius was referred by her doctor, Dr. Copeland, to Dr. Shultz for
the ESI to help make a diagnosis rather than being admitted as an in-patient who
subsequently received it at the direction of someone at the YSC. She knew Dr.
Shultz would be doing the ESI before she left her doctor. The ESI was not
emergency care; nor was it provided at an acute care facility. Under these
circumstances the “ratification” theory of a nondelegable duty fails to trump the
rule that a healthcare facility is not vicariously liable for the negligence of
independent contractor physicians. Milliron, 243 Mont. at 204-05, 793 P.2d at
827-28.
         Ostensible Agency. Vicarious liability might occur if the YSC intentionally
or negligently caused Mrs. Fabrizius to reasonably believe Dr. Shultz was its
agent. Butler, ¶33 - ¶35, referring to M.C.A. §28-10-103 and §28-10-602. It must
be the YSC, not Dr. Shultz or Dr. Copeland, “who ‘intentionally or by want of
ordinary care causes a third person to believe another to be [its] agent.’" Sunset
Point Partnership v. Stuc-O-Flex International, Inc., 1998 MT 42, ¶22, 287 Mont.
388, 394, 954 P.2d 1156, 1160. Dr. Copeland sending her where the YSC
provided space, equipment, and personnel for Dr. Shultz does not demonstrate
intentional conduct by the YSC from which she could conclude Dr. Shultz was its
agent. Id.; Milliron, 273 Mont. at 203, 793 P.2d at 826-27.


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         Here, unlike the Butler situation, the YSC informed Mrs. Fabrizius before
the ESI that Dr. Shultz was an independent contractor and not its agent, servant or
employee.18 This removes any reliance on Butler, ¶40, et seq., and the Sword case
discussed therein as a legal basis for arguing an ostensible agency existed here.
         If Mrs. Fabrizius was relying on M.C.A. §28-10-103 and §28-10-602 for
establishing vicarious liability, her belief that Dr. Shultz was an agent of the YSC
must be reasonable. Sunset Point, ¶22. To the extent the Restatement (Second) of
Torts §429 was adopted in Butler, ¶38, et seq., as a guide in assessing the issue,
among the three things the Plaintiffs must show is that she looked to the YSC,
rather than Dr. Shultz, for care before any belief she expresses can be deemed
reasonable. Butler, ¶39. Her thoughts, conclusions and beliefs on November 10,
2004, confirm that she looked to Dr. Shultz for her care.
         As in Milliron, 243 Mont. at 201, 793 P.2d at 825, the evidence19 is that Dr.
Copeland referred her to Dr. Shultz for the ESI to help make a diagnosis. When
she left Dr. Copeland’s office she was going to see Dr. Shultz for care regardless
of where he was. She said, “I don’t know the way that would have even crossed
my mind” when asked if she cared about Dr. Shultz’s relationship with the YSC
when she went to see him. D. Fabrizius, 168:22-169:1. Her admissions, joined
with Dr. Copeland’s referral, negates any reliance on Restatement (Second) of
Torts §429 and a contention she looked to the YSC, rather than Dr. Shultz, for
care. Mrs. Fabrizius has no reasonable basis for now saying she thought he was an
agent of the YSC.




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              YSUF, Ex. 1, p. 1, ¶1.
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              See “Events Leading to the C6-7 ... ESI” beginning at p. 3, supra.
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                                                    Conclusion
         Summary judgment is appropriate if there is no genuine issue over any
material fact and the movant is entitled to a judgment as a matter of law.
Fed.R.Civ.P. 56(c). The Plaintiffs bear the burden of proof on all of the essential
elements of their claim. Southern California Gas Company v. Santa Ana, 336
F.3d 885, 888 (9th Cir. 2003). “The ... burden of proving agency, including not
only the fact of its existence but also its nature and extent, rests ordinarily upon
the party who alleges it.” Elkins, 153 Mont. at 165, 455 P.2d at 332. The
Plaintiffs assert that there was an actual agency relationship between the YSC and
Dr. Shultz on November 10, 2004.
         Omissions of evidence, misstatements or misperceptions extracted from
relevant evidence, factitious suppositions, and reliance on inadmissible evidence
do not expose genuine issues of fact precluding summary judgment. A trial court
can only consider admissible evidence in ruling on a motion for summary
judgment. Orr v. Bank of America, 285 F.3d 764, 773 (9th Cir. 2002).
                Rule 56(c) requires entry of summary judgment “against a party
         who fails to make a showing sufficient to establish the existence of an
         element essential to that party's case, and on which that party will
         bear the burden of proof at trial.” Celotex Corp. v. Catrett, 477 U.S.
         317, 322, 106 S.Ct. 2548, 2552, 91 L.Ed.2d 265 (1986). “[A]
         complete failure of proof concerning an essential element of the
         nonmoving party's case necessarily renders all other facts
         immaterial.” Id. at 323, 106 S.Ct. at 2552 (where nonmoving party
         would bear burden of proof at trial, moving party may rely on
         pleadings and allege that the nonmovant failed to establish an element
         essential to that party's case; nonmoving party must then designate
         specific facts showing there is a genuine issue for trial). The moving
         party must show the absence of a genuine issue concerning any
         material fact, but it need not produce evidence to do so; it may merely
         point out to the court the absence of evidence. Id. at 325, 106 S.Ct. at
         2553.
Maffei v. Northern Insurance Company of New York, 12 F.3d 892, 899 (9th Cir.
1993); Abraham v. Nelson, 2002 MT 94, ¶11, 309 Mont. 366, 369-70, 46 P.3d

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628, 631, and Montana Deaconess Hospital v. Gratton (1976), 169 Mont. 185,
190, 545 P.2d 670, 673 are in accord.
         The evidence does not prove Dr. Shultz was an agent employee of the YSC,
actual or ostensible. The Plaintiffs have not fulfilled their burden.
         The evidence does, however, require a conclusion that Dr. Shultz was an
independent contractor when he did the ESI at Dr. Copeland’s request. Butler,
¶32; Milliron, 243 Mont. at 202-03, 793 P.2d at 826. “Nondelegable duty” does
not preclude the application of the general rule that the YSC is not vicariously
liable for any negligence attributed to Dr. Shultz. Milliron, 243 Mont. at 204-05,
793 P.2d at 827-28. The YSC motion for summary judgment on this vicarious
liability issue is appropriate and the Plaintiffs’ motion should be denied.
                                        Certificate of Compliance
         Pursuant to L.R. 7.1(d)(2) and 10.1(a), the undersigned certifies that the
foregoing document is 5,974 words in length, excluding the caption and this
certificate of compliance; is double spaced except for the quoted material and the
footnotes; and is typewritten in 14 point font without erasures or materially
defacing interlineations.
         DATED, September 18, 2009.
                                              KELLER, REYNOLDS, DRAKE,
                                               JOHNSON & GILLESPIE, P.C.
                                              __/s/ Richard E. Gillespie__
                                              Richard E. Gillespie
                                              Attorney for Yellowstone Surgery Center




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